        Case 3:09-cr-05452-RJB        Document 294           Filed 11/30/09   Page 1 of 1

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                                 UNITED STATES DISTRICT COURT
5
                               WESTERN DISTRICT OF WASHINGTON
6                                             AT TACOMA
7
8    UNITED STATES OF AMERICA,     )
                                   )                    No. CR-09-5452-RJB-24
9                       Plaintiff, )
                                   )
10   vs.                           )                    ORDER GRANTING
                                   )                    SUBSTITUTION OF COUNSEL
11
     MANUEL SANDOVAL-VILLANUEVA, )
12                                 )
                        Defendant. )
13
14          BEFORE the court for resolution is the Defendant MANUEL SANDOVAL-

15   VILLANUEVA’S Motion to Substitute Retained Counsel, RICARDO HERNANDEZ, in lieu of

16   his present attorney of record. The Court having considered the submissions of the Defendant,

17   and the court file, hereby ORDERS:

18          The defendant’s Motion is GRANTED. RICARDO HERNANDEZ is substituted as the

19   attorney of record for the Defendant, MANUEL SANDOVAL VILLANUEVA.

20          It is so ordered this 30th day of November 2009.

21
22
                                                 A
                                                 ROBERT J. BRYAN
23                                               United States District Judge
     PRESENTED BY:
24   HERNANDEZ LAW OFFICE
25
     s/Ricardo Hernandez___
26   RICARDO HERNANDEZ
     Attorney for Defendant
27
28
     (PROPOSED)                                       - 1-                                RICK HERNANDEZ.
                                                                                    HERNANDEZ LAW OFFICES
     ORDER GRANTING                                                                      440 SOUTH 6 TH ST.
     SUBSTITUTION OF COUNSEL                                                              P.O. BOX 1039
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